            Case 19-03529 Document 4 Filed in TXSB on 06/04/19 Page 1 of 1

                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS


In Re: Ignite Restaurant Group, Inc. and                                              ENTERED
Ignite Restaurants − New Jersey, LLC                                                  06/04/2019
   Debtor
                                                  Case No.: 17−33550
                                                  Chapter 11
Drivetrain, LLC, as Trustee of Ignite
Restaurant Group GUC Trust
     Plaintiff(s)
vs
S.S. Kemp & Co., LLC d/b/a
Trimark SS Kemp and Company
     Defendant(s)
                                                  Adversary No.: 19−03529


  ORDER REGARDING THE EXCHANGE OF EXHIBITS AND WITNESS
LISTS IN ALL CONTESTED MATTERS AND ADVERSARY PROCEEDINGS
     1.       Counsel representing parties in all contested matters and adversary
proceedings shall review and comply with BLR 9013−2 − Exchange of Exhibits,
Exhibit Lists and Witness Lists in All Contested Matters and Adversary Proceedings.
    2.   ALL PARTIES ARE ADVISED THAT THE FAILURE TO TIMELY
COMPLY WITH THIS ORDER WILL BE GROUNDS FOR THE DENIAL OF THE
ADMISSION OF ANY OR ALL EXHIBITS AND THE EXCLUSION OF WITNESS
TESTIMONY.
       3.      All hearings are evidentiary unless specifically ordered otherwise.
       It is so ORDERED.
       Signed and Entered on Docket: 6/4/19.
